   Case 1:20-cr-00074-MSM-LDA Document 24 Filed 07/29/20 Page 1 of 3 PageID #: 101


                                                                                                CLOSED
                                   U.S. District Court
                          Northern District of Georgia (Atlanta)
                  CRIMINAL DOCKET FOR CASE #: 1:20−mj−00612−AJB−1

       Case title: USA v. Staveley                              Date Filed: 07/24/2020
       Other court case number: 1:20−mj−00034−LDA USDC District Date Terminated: 07/24/2020
                                  of Rhode Island

       Assigned to: Magistrate Judge
       Alan J. Baverman

       Defendant (1)
       David Adler Staveley                represented by Vidhi S. Joshi
       TERMINATED: 07/24/2020                             Federal Defender Program−Atl
                                                          Suite 1500
ATTEST: A TRUE COPY                                       Centennial Tower
CERTIFIED THIS                                            101 Marietta Street, N.W.
                                                          Atlanta, GA 30303
         7/28/2020
Date: __________________________                          404−688−7530
                                                          Email: vidhi_joshi@fd.org
JAMES N. HATTEN, Clerk
                                                          LEAD ATTORNEY
     s/Traci C. Campbell
By: ____________________________                          ATTORNEY TO BE NOTICED
         Deputy Clerk                                     Designation: Public Defender or Community
                                                          Defender Appointment

       Pending Counts                                    Disposition
       None

       Highest Offense Level (Opening)
       None

       Terminated Counts                                 Disposition
       None

       Highest Offense Level
       (Terminated)
       None

       Complaints                                        Disposition
       18:3606 − Sanctions For Violation
       of A Release Condition


                                                                                                         1
Case 1:20-cr-00074-MSM-LDA Document 24 Filed 07/29/20 Page 2 of 3 PageID #: 102




  Plaintiff
  USA                                          represented by John Russell Phillips
                                                              Office of the United States
                                                              Attorney−ATL600
                                                              Northern District of Georgia
                                                              600 United States Courthouse
                                                              75 Ted Turner Dr., S.W.
                                                              Atlanta, GA 30303
                                                              404−581−6239
                                                              Email: russell.phillips@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Retained

   Date Filed   # Page Docket Text
   07/24/2020           Arrest (Rule 40) of David Adler Staveley. (tcc) (Entered: 07/28/2020)
   07/24/2020   1       ORDER APPOINTING FEDERAL PUBLIC DEFENDER Vidhi S. Joshi for
                        David Adler Staveley. Signed by Magistrate Judge Alan J. Baverman on
                        7/24/2020. (tcc) (Entered: 07/28/2020)
   07/24/2020   2       Minute Entry for proceedings held before Magistrate Judge Alan J. Baverman:
                        Initial Appearance in Rule 5(c)(3) Proceedings as to David Adler Staveley held
                        on 7/24/2020, Defendant waives Preliminary Hearing. Waiver filed. Detention
                        Hearing held. Commitment to Another District. (Tape #FTR Gold) (tcc)
                        (Entered: 07/28/2020)
   07/24/2020   3       WAIVER of Rule 5 Identity Hearings by David Adler Staveley. (tcc) (Entered:
                        07/28/2020)
   07/24/2020   4       MOTION for Detention by USA as to David Adler Staveley. (tcc) (Entered:
                        07/28/2020)
   07/24/2020   5       CJA 23 Financial Affidavit by David Adler Staveley. (tcc) (Entered: 07/28/2020)
   07/24/2020   6       COMMITMENT TO ANOTHER DISTRICT as to David Adler Staveley.
                        Defendant committed to USDC District of Rhode Island. Signed by Magistrate
                        Judge Alan J. Baverman on 7/24/2020. (tcc) (Entered: 07/28/2020)
   07/24/2020           Magistrate Case Closed. Defendant David Adler Staveley terminated. (tcc)
                        (Entered: 07/28/2020)
   07/28/2020           Transmittal of Rule 5(c)(3) Documents as to David Adler Staveley, sent to USDC
                        District of Rhode Island via InterdistrictTransfer email with certified copy of
                        Commitment Order and docket sheet. (tcc) (Entered: 07/28/2020)




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Case 1:20-cr-00074-MSM-LDA   Document
          Case 1:20-mj-00612-AJB      24 Filed
                                 Document      07/29/20
                                          6 Filed        Page
                                                   07/24/20   3 of 13 of
                                                            Page      PageID
                                                                         1   #: 103




                                         ATTEST: A TRUE COPY
                                         CERTIFIED THIS

                                                 7/28/2020
                                         Date: __________________________

                                         JAMES N. HATTEN, Clerk
                                              s/Traci C. Campbell
                                         By: ____________________________
                                                  Deputy Clerk




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